IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF GEORGIA
VALDOSTA DIVISION

YANIRA YESENIA OLDAKER, e a/,
Petitioners,
CASE NO.: 7:20-CV-00224 AWLS)
Vv.

‘THOMAS GILES, eral,

Respondents.

 

ORDER

Before the Court is the Petitioners' “Emergency Motion to Grant Revised Consent
Order as Agreed to by the Parties,” filed today on November 25, 2020, (Doc. 44.) Yesterday,
on November 24, 2020, the Patties jointly filed a Consent Motion to Revise the Scheduling
Order, to extend the bricfing deadlines on the pending and forthcoming motions for a
temporary restraining order (the “IRO motions”) through January 21, 2021 and to continue
the heating on the motions until after that date. (Doc. 39,) The consent motion further stated
that the Respondents would not deport the current and forthcoming petitioners until the TRO
motions were heard after January 21, 2021. Id at 5. Upon receipt of the consent motion
yesterday, the Coutt reviewed it, approved it, and signed it. The only reason the order granting
that motion was not filed this morning was because of an email recetved from Respondents’
counsel this morning asking the Court not to grant the motion because the highest levels of
ICE had not agreed to it.

The Court finds good cause to grant the consent motion. It was entered itito and filed
jointly by all Parties of their own volition, and, notwithstanding Respondents’ belated email,
no showing has been made on the tecord or otherwise why the Court should not enforce the
Patties’ own agreement. By stipulating to the motion, Respondents’ counsel represented that
it was acting with Respondents’ consent. Indeed, the Court has already approved the consent

motion, and filing it is only ministerial at this point.

 

 

 

 
Moreover, the consent motion would extend the deadline for Respondents to file a
consolidated response to the TRO motions, which was otherwise due yesterday as to
Petitioners Oldaker and Adan-Cajigal and is due today (at the latest) as to Petitioner Ramitez.
(See Docs. 16, 27, 28, & 35.) Because Respondents did not file a response to Oldaker’s of
Adan-Cajigal’s TRO motions yesterday, and now ask the Court not to extend their briefing
deadlines, these TRO motions ate essentially unopposed.

For the reasons stated herein and for good cause shown, Petitioners’ motion to grant
the consent motion (Doc. 44) is GRANTED. The previously-signed consent motion will be
granted by separate order, All Parties to the consent motion SHALL comply with the terms
of the consent motion, including the stipulation not to deport petitioners pending the Coutrt’s
resolution of the TRO motions, unless and until a withdrawal of or revision to the consent

motion is formally requested and approved by the Court.

SO ORDERED, this asthe, of Novernb Va

W. LOUIS SANDS, SR. JUDGE
UNITED STATES DISTRICT COURT

 

 

 

 
